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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

   UNITED STATES OF AMERICA                     )
                                                )
                                                )
   v.                                           )       Case No. 1:19CR00016
                                                )
   INDIVIOR INC., ET AL.,                       )
                                                )
            Defendants.                         )

                           OPINION AND ORDER
                       DENYING MOTION TO SUPPRESS

        ARGUED: Randy Ramseyer, Assistant United States Attorney, Abingdon,
  Virginia, for United States; James P. Loonam, JONES DAY, New York, New York, for
  Defendants; ON BRIEF: Daniel P. Bubar, First Assistant United States Attorney,
  Albert P. Mayer, Kristin L. Gray, Joseph S. Hall, Garth W. Huston, Janine M. Myatt,
  and Carol L. Wallack, Assistant United States Attorneys, UNITED STATES ATTORNEY’S
  OFFICE, Abingdon, Virginia, for United States; David Morrell, Deputy Assistant
  Attorney General, Matthew J. Lash, Charles J. Biro, U.S. DEPARTMENT OF JUSTICE,
  CIVIL DIVISION, CONSUMER PROTECTION BRANCH, for United States; Peter J.
  Romatowski, James R. Wooley, Georgina Druce, Katherine K. Mizelle, and James
  M. Gross, JONES DAY, for Defendants; Thomas J. Bondurant, Jr., and Jennifer S.
  DeGraw, GENTRY LOCKE, Roanoke, Virginia, for Defendants.
        The defendants in this criminal prosecution have moved to suppress evidence

  seized during a search of corporate business premises pursuant to a search warrant.

  The government opposes suppression. For the following reasons, I will deny the

  defendants’ Motion to Suppress.
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                                             I.

        The defendants, Indivior Inc. and its parent company, Indivior PLC,1 are

  alleged to have deceived health care providers and benefit programs into believing

  that the prescription medication Suboxone® (buprenorphine and naloxone)

  sublingual film is safer and less susceptible to diversion and abuse than other similar

  drugs. The Superseding Indictment charges the defendants with: (1) one count of

  conspiracy to commit mail, wire, and healthcare fraud, all in violation of 18 U.S.C.

  § 1349; (2) one count of healthcare fraud, in violation of 18 U.S.C. §§ 2 and 1347;

  (3) four counts of mail fraud, in violation of 18 U.S.C. §§ 2 and 1341; and (4) twenty-

  two counts of wire fraud, in violation of 18 U.S.C. §§ 2 and 1343.

        The defendants make four arguments in their suppression motion. First, the

  Search Warrant was invalid because the government omitted from its application

  material information about the original human source of its information and that

  person’s financial conflict. Second, the warrant was facially invalid because it failed

  to properly attach or incorporate the supporting documents. Third, the warrant’s

  language was overly broad and lacked probable cause to seize a majority of the

  defendants’ physical and electronic files. Finally, the government exceeded the


        1
            Indivior Inc. was known as Reckitt Benckiser Pharmaceuticals, Inc. (“RBP”)
  before it was obtained by Indivior PLC in December 2014. The business premises at the
  time of the search were occupied by RBP, but for convenience, I will refer to the search
  having occurred at the defendants’ premises, the government’s seizure being of the
  defendants’ property, and employees of RBP being those of the defendants.
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  scope of the warrant. The defendants also claim that the government’s retention of

  the seized evidence has been unreasonable.

        The government responds that the magistrate judge’s probable cause finding

  is presumptively valid and, even if the Search Warrant is found to be invalid for the

  reasons argued by the defendants, the government relied in good faith on the warrant

  so that suppression is an extreme remedy.          The government insists that its

  cooperating witness’s status as a qui tam relator does not make her less credible, but

  actually increases her reliability since her financial incentives are dependent on

  whether her information is accurate. Consequently, the omission of this fact was not

  material to the magistrate judge’s probable cause determination.          As for the

  attachment or incorporation issue, the government maintains that the materials

  necessary to satisfy the Fourth Amendment’s particularity requirement were

  attached to the Search Warrant and also incorporated by reference.

        The government asserts that the Search Warrant was not overly broad due to

  the circumstances of its investigation into a fraud scheme that appeared to permeate

  the business. In addition, the government points to the tailored language in the

  Search Warrant’s things to be seized section that seeks materials relating to the

  specific pharmaceuticals and the areas of the business likely to have stored

  information about the scheme. The government acknowledges that some of the

  seized items might have been outside the scope of the warrant — specifically,


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  information relating to a third pharmaceutical not discussed in the affidavit or the

  eventual Superseding Indictment — but claims that such errors do not require

  blanket suppression. Finally, the government details how the seized information has

  been retained, as well as its efforts to segregate privileged and irrelevant materials

  from its database with the cooperation of the defendants.

                                              II.

         The investigation leading to the present case commenced in April 2013, when

  an employee of the defendants met with the government to report suspected criminal

  activity and initiate the whistleblower process. The cooperating witness provided

  internal documents she had gathered from the defendants in order to corroborate her

  statements.    A few weeks later, the cooperating witness secretly recorded

  conversations and presentations at a corporate conference hosted by the defendants,

  as well as collected presentation materials. She turned the recordings and materials

  over to the government. The cooperating witness filed a qui tam complaint under

  seal in this court in May 2013.2 The government continued its investigation into the



         2
           The qui tam action was unsealed in August 2018 when the United States partially
  intervened in the case. Order, United States of America, et al., ex rel. Ann Marie Williams
  v. Reckitt Benckiser, Inc., et al, No. 1:13-CV-00036 (W.D. Va. Aug. 2, 2018), ECF No. 55.
  A qui tam action involves allegations that a business, corporation, or individual submitted
  false or fraudulent claims for payment to the government. 31 U.S.C. § 3729. A qui tam
  action is initially filed under seal by a whistleblower pursuant to the False Claims Act
  (“FCA”). 31 U.S.C. § 3730(b)(2). The FCA system rewards successful qui tam relators
  with a partial recovery of the funds collected by the government if it intervenes in the
  action. 31 U.S.C. § 3730(d). A qui tam relator is entitled to approximately 15 to 25 percent
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  defendants and eventually applied for a warrant to search the defendants’ Richmond,

  Virginia, headquarters on December 2, 2013.

        The government’s application lists a number of suspected violations, some of

  which were included in the eventual Indictment and Superseding Indictment. The

  government’s application was comprised of several documents, specifically: (1) the

  cover page listing the suspected violations and basis for the search; (2) the unsigned

  Search Warrant; (3) the supporting affidavit describing the investigation and the

  basis for finding probable cause; (4) Attachment A and its description of the place

  to be searched; (5) Attachment B and its description of the things to be seized; and

  (6) a selection of the internal documents turned over by the whistleblower to further

  support the probable cause finding.

        The face of the Search Warrant explicitly incorporates Attachments A and B.

  The cover page of the application explicitly incorporates the supporting affidavit and

  notes that is attached as well.       The affidavit describes the initiation of the

  investigation and provides relevant facts about the defendants, its related drug

  products,3 and the suspected scheme to increase sales. The affidavit describes the

  government’s source as a whistleblower, although it does not mention the qui tam



  of the recovery if the government intervenes but can be entitled to between 25 and 30
  percent of the recovery if the government does not intervene. Id.
        3
           A related drug product is Subutex® tablets (“Subutex’), which contains
  buprenorphine but not naloxone.
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  action that remained under seal at the time. The affidavit also explains that the

  defendants’ corporate headquarters likely held the requested material because it is a

  central location that would store information relating to their business activities

  across the country, as well as house their employees’ offices and corporate-issued

  electronic devices. The affidavit seeks on-site imaging and later search of the

  devices off-site due to the anticipated volume of information. The affidavit also

  offers the secondary explanations that the government wants to reduce removal or

  destruction of evidence and minimize disruption to the functioning business.

        Attachment A describes the defendants’ headquarters and includes a map and

  photographs of the location. Finally, Attachment B is a four-page list of items to be

  seized that is organized by topic, with the universe limited to: Corporate property,

  materials relating to or discussing Suboxone and Subutex, a specific subset of the

  defendants’ personnel, internal compliance reviews, the defendants’ business

  strategies, and other related materials that would likely be found in hard-copy or

  electronic format. A magistrate judge of the Eastern District of Virginia found

  probable cause and signed the Search Warrant that same day.

        The government executed the Search Warrant on December 3, 2013. A filter

  team had been established prior to execution of the warrant. The affidavit and

  application were under seal on the date of the search and were, therefore, not

  produced to the defendants or their employees. The defendants’ employees were


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  directed to a central location and were asked to surrender their corporate-issued

  electronics. The government informed the defendants’ general counsel about the

  warrant after entering the headquarters but before commencing the search. The

  defendants’ general counsel then held a closed-door meeting with employees before

  the search commenced. The general counsel and outside counsel remained on-site

  during the search and met with the government at various points to discuss issues

  raised by the defendants. The search of the premises was completed that evening.

        On December 4 and 5, the defendants’ legal team was permitted to review

  seized hard-copy items to determine what the defendants urgently needed for their

  business operations; the originals were then returned, and the scanned versions were

  retained by the government. On December 6, 2013, the government received an

  image of the defendants’ server. The filter team examined the seized materials as

  the first layer of review, segregated potentially privileged information based on a list

  of terms supplied by the defendants’ counsel, and later handled privilege disputes so

  that the investigative team did not see the materials at issue.

        Once the government received the image of the server, an agreed order was

  entered to govern searches of the server. The government has since electronically

  filtered out irrelevant and privileged materials from both the server and the hard copy

  seizure. By early 2014, the government produced electronic copies of nearly all the

  hard copy materials it had seized to the defendants. As a result of the search, the


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  government collected approximately 1.6 million documents.          The government

  continued its investigation after the search and did not seek an indictment in this

  court until April 2019, which was later superseded in August 2019.

                                          III.

        The Fourth Amendment governs search warrants. It provides, in pertinent

  part, that “no Warrants shall issue, but upon probable cause, supported by Oath or

  affirmation, and particularly describing the place to be searched, and the persons or

  things to be seized.” U.S. Const. amend. IV. Essentially, the Fourth Amendment

  requires that warrants: (1) Be issued by a neutral, detached magistrate, (2) contain

  a particularized description of the place to be searched and persons or things to be

  seized, (3) be supported by oath or affirmation, and (4) be based on probable cause.

  United States v. Clyburn, 24 F.3d 613, 617 (4th Cir. 1994).

        An affidavit must provide the magistrate with a substantial basis for

  determining the existence of probable cause. Illinois v. Gates, 462 U.S. 213, 239

  (1983); see also Maryland v. Pringle, 540 U.S. 366, 371 (2003). Although there is

  not a precise definition of probable cause, courts have understood that “it exists

  where the known facts and circumstances are sufficient to warrant a man of

  reasonable prudence in the belief that contraband or evidence of a crime will be




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  found in a particular place.”4 United States v. Perez, 393 F.3d 457, 461 (4th Cir.

  2004). Therefore, courts must consider a number of factors in a practical manner,

  “including the veracity and basis of knowledge of persons supplying hearsay

  information.”     Gates, 462 U.S. at 238 (adopting a totality of the circumstances

  analysis to evaluate tips from informants); see also United States v. DeQuasie, 373

  F.3d 509, 518 (4th Cir. 2004). Ultimately, great deference should be given to a

  magistrate’s determination finding probable cause. Spinelli v. United States, 393

  U.S. 410, 419 (1969). The Fourth Amendment has a strong preference for searches

  conducted pursuant to a warrant, thus the Supreme Court has held it is inconsistent

  to invalidate a warrant by “interpreting affidavit[s] in a hypertechnical, rather than a

  commonsense, manner.” United States v. Ventresca, 380 U.S. 102, 109 (1965).

         Although “[t]he Fourth Amendment contains no provision expressly

  precluding the use of evidence obtained in violation of its commands,” United States

  v. Leon, 468 U.S. 897, 906 (1984), the Supreme Court adopted the exclusionary rule

  “to deter future unlawful police conduct and thereby effectuate the guarantee of the

  Fourth Amendment against unreasonable searches and seizures.” United States v.

  Calandra, 414 U.S. 338, 347 (1974). In Leon, the Supreme Court established the

  good-faith exception to the exclusionary rule. The Supreme Court found that



         4
           I have omitted internal quotation marks, alterations, and citations throughout this
  opinion, unless otherwise noted.
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   “suppression of evidence obtained pursuant to a warrant should be ordered only on

   a case-by-case basis and only in those unusual cases in which exclusion will further

   the purposes of the exclusionary rule.” 468 U.S. at 918.

         The Leon Court further noted that “the marginal or nonexistent benefits

   produced by suppressing evidence obtained in objectively reasonable reliance on a

   subsequently invalidated search warrant cannot justify the substantial costs of

   exclusion.” Id. at 922. The Leon Court observed that while searches authorized by

   a warrant “will rarely require any deep inquiry into reasonableness, for a warrant

   issued by a magistrate normally suffices to establish that a law enforcement officer

   has acted in good faith in conducting the search . . . it is clear that in some

   circumstances the officer will have no reasonable grounds for believing the warrant

   was properly issued.” Id. at 922–23.

         The Court identified four circumstances in which the good-faith exception

   would not apply: (1) “[I]f the magistrate or judge in issuing a warrant was misled

   by information in an affidavit that the affiant knew was false or would have known

   was false except for his reckless disregard of the truth;” (2) if “the issuing magistrate

   wholly abandoned his judicial role”; (3) if the affidavit supporting the warrant is “so

   lacking in indicia of probable cause as to render official belief in its existence

   entirely unreasonable;” and (4) if under the circumstances of the case the warrant is

   “so facially deficient” that the executing officers “cannot reasonably presume it to


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   be valid.” Id. at 923. Consideration of the Leon exception “is a less demanding

   showing than the substantial basis threshold required to prove the existence of

   probable cause in the first place.” United States v. Bynum, 293 F.3d 192, 195 (4th

   Cir. 2002). The Supreme Court has consistently explained that the exclusionary

   rule’s “sole purpose . . . is to deter future Fourth Amendment violations” and that

   exclusion is appropriate only when “the deterrence benefits of suppression . . .

   outweigh its heavy costs.” Davis v. United States, 564 U.S. 229, 236–37 (2011).

   The Davis Court clarified that the key to this balancing analysis is the relative

   culpability of the officer’s conduct:

         The basic insight of the Leon line of cases is that the deterrence benefits
         of exclusion vary with the culpability of the law enforcement conduct
         at issue. When the police exhibit deliberate, reckless, or grossly
         negligent disregard for Fourth Amendment rights, the deterrent value
         of exclusion is strong and tends to outweigh the resulting costs. But
         when the police act with an objectively reasonable good-faith belief
         that their conduct is lawful, or when their conduct involves only simple,
         isolated negligence, the deterrence rationale loses much of its force,
         and exclusion cannot pay its way.
   Id. at 238 (emphasis added).

                       A. The government’s omission of impeachment
                       information in the Search Warrant affidavit was
                       not material and there is no evidence of intentionality.

         The defendants first assert that the government committed a Franks violation

   by omitting from its warrant application that its source had independently filed a qui

   tam action against the defendants for substantially similar activity. See Franks v.


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   Delaware, 438 U.S. 154 (1978). A defendant may bring a Franks challenge either

   when an affidavit contains a false statement or when the affiant has omitted material

   information. United States v. Lull, 824 F.3d 109, 114 (4th Cir. 2016). In order to

   obtain a Franks hearing, the defendants must: (1) Make a substantial preliminary

   showing of an intentional or reckless omission; and (2) demonstrate that the

   omission was essential to the probable cause determination. Franks, 438 U.S. at

   155–56; see also Lull, 824 F.3d at 114–15 (holding that the standard is

   preponderance of the evidence). Thus, a defendant must establish both intentionality

   and materiality. Miller v. Prince George’s Cty., 475 F.3d 621, 627–28 (4th Cir.

   2007) (holding that for the first prong, suppression is not warranted if the officer

   acted with negligence or committed an innocent mistake).

         This evidence “must be more than conclusory” and “must be accompanied by

   an offer of proof.” Franks, 438 U.S. at 171. Allegations must be supported through

   affidavits or sworn witness statements, or an explanation of why these cannot be

   provided. Id. Challenged affidavits are presumed valid. Id. The defendant’s burden

   in showing intent is greater in the case of an omission because “[a]n affiant cannot

   be expected to include in an affidavit every piece of information gathered in the

   course of an investigation.” United States v. Colkley, 899 F.2d 297, 300 (4th Cir.

   1990) (holding that Franks protects against omissions designed to mislead the

   magistrate).


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         In assessing materiality, the court must “insert the facts recklessly [or

   intentionally] omitted, and then determine whether or not the corrected warrant

   affidavit would establish probable cause.” Miller, 475 F.3d at 628; United States v.

   Wharton, 840 F.3d 163, 168 (4th Cir. 2016) (“An omission is material if it is

   necessary to the neutral and disinterested magistrate’s finding of probable cause.”).

   In determining the role of the omitted information, the court must apply the totality

   of the circumstances test of Illinois v. Gates, 462 U.S. 213, 238 (1983). In the

   context of informants, it is notable if the source supplies much of the factual basis

   for the affidavit and the reviewing court later finds the source unreliable. See Lull,

   824 F.3d at 118.5 If the court finds the source inherently unreliable, it must excise

   her statements from the affidavit. See id. The omission is material if nothing in the

   affidavit supports probable cause without her statements. Id. at 120. However,

   omitted information that is potentially relevant, but not dispositive, is not enough to

   warrant a hearing. Colkley, 899 F.2d at 301. In the end, there is no Franks violation




         5
            Generally, when an effort is made to establish probable cause for the issuance of
   a search warrant based on hearsay from an informant, “it is necessary to consider all the
   circumstances set forth in the affidavit, including the veracity and basis of knowledge of
   persons supplying hearsay information. The degree to which an informant’s story is
   corroborated may also be an important factor.” United States v. Hodge, 354 F.3d 305, 309
   (4th Cir. 2004). Even so, “[t]here is no set requirement that all tips be corroborated by
   subsequent police investigation in order to be considered credible. Whether subsequent
   corroboration is necessary must be determined in the light of the totality of the
   circumstances presented by the particular set of facts.” DeQuasie, 373 F.3d at 519.
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   if “the corrected warrant affidavit establishes probable cause.” Miller, 475 F.3d at

   628.

          In Lull, the Fourth Circuit found that an officer recklessly omitted facts related

   to the credibility of his confidential informant; specifically, the informant tried to

   steal police money after completing the controlled buy with the defendant. 824 F.3d

   at 111–13. The Fourth Circuit held that the information was material because it

   significantly undermined the reliability of the informant. Id. The same is not true

   here, because inclusion of the source’s status as a qui tam relator does not make her

   inherently unreliable. While the source might have a financial interest in the

   defendants being found liable in her FCA claim, it does not necessarily follow that

   she has an incentive to be untruthful. It is equally likely that the source has an

   increased incentive to provide truthful and valid information to support her claim in

   order to recognize any financial gain in the future.

          The Fourth Circuit has recognized that an informant’s personal interest can

   create “a strong motive to supply accurate information.” United States v. Miller,

   925 F.2d 695, 699 (4th Cir. 1991).6            The source’s personal interest in the


          6
               The defendants cited two cases during oral argument that are easily
   distinguishable. The first case involved an informant that was being paid for his services,
   with only minimal police corroboration of his tip before seeking the warrant. United States
   v. Clark, 935 F.3d 558, 565–66 (7th Cir. 2019). Here, the source’s financial incentive can
   only be realized after a successful FCA suit and that civil suit has been stayed pending the
   resolution of this criminal prosecution. It is also apparent that the government’s
   investigation lasted at least eight months before it sought the warrant. The second case
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   investigation of these defendants also stands in stark contrast to many of the potential

   interests of informants. See, e.g., Jaben v. United States, 381 U.S. 214, 224 (1965)

   (noting that in a probable cause context the credibility of informants in drug cases

   and other garden-variety street crimes “may often be suspect” as opposed to classic

   white-collar crimes like tax evasion). In fact, the Fourth Circuit has found that an

   informant has higher credibility when they “meet[] face-to-face with an officer [and]

   provide[] the officer with an opportunity to assess his credibility and demeanor and

   also expose[] himself to accountability for making a false statement.” DeQuasie,

   373 F.3d at 523.

          Even if I entertain some doubt as to her motives, the level of detail provided

   in her description of alleged wrongdoing by the defendants and their employees —

   along with supportive documents and recordings — clearly demonstrates that she

   personally observed many of the events due to her position in the defendants’

   organization. Her tip is, therefore, entitled “to greater weight than might otherwise

   be the case.” Gates, 462 U.S. at 234. While inclusion of the source’s potential

   financial interest might have been relevant for the magistrate judge to conduct a more

   thorough totality-of-the-circumstances analysis as to her reliability, I do not believe

   the omission is material. Furthermore, the defendants have not shown evidence of


   involved a fee arrangement for a witness to testify at trial, in which the Fourth Circuit set
   out procedural hurdles for such testimony to be permitted at trial. United States v. Levenite,
   277 F.3d 454, 462–63 (4th Cir. 2002).
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   any intention by the government to deliberately mislead the magistrate judge in

   omitting the information.

         The court must also be cautious about importing the panoply of Giglio

   protections from trial practice into warrant application proceedings. See Colkley,

   899 F.2d at 302–03 (discussing refusal to import Brady right to warrant process).

   The Giglio rule, like the Brady rule, derives from due process concerns and is

   designed to ensure fair criminal trials. Giglio v. United States, 405 U.S. 150, 155

   (1972). A defendant is cloaked with the presumption of innocence at trial, but the

   probable cause determination for a search warrant does not involve a definitive

   adjudication of innocence or guilt. As in Colkley, because the consequences of a

   search are less severe and irremediable than the consequences of an adverse criminal

   verdict, a duty to disclose potential impeachment information appropriate in the

   setting of a trial may be less compelling in the context of an application for a warrant.

   899 F.2d at 302–03.

                       B. The Search Warrant sufficiently incorporated
                       the Attachments to satisfy the Fourth Amendment’s
                       particularity requirement.

         The defendants next claim that the government did not properly attach or

   incorporate its affidavit to the Search Warrant, so that the warrant was facially

   invalid and the evidence seized during the search must be suppressed. See Groh v.

   Ramirez, 540 U.S. 551 (2004). The defendants rely upon the Supreme Court’s


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   holding in Groh that a search warrant is facially invalid if it fails to describe the

   persons or things to be seized, even if the particularized description was provided in

   the search warrant application. Id. at 557. The Groh Court reasoned that the Fourth

   Amendment requires particularity in the warrant rather than in the supporting

   documents. Yet the defendants ignore the second part of Groh’s holding. The search

   warrant is facially invalid only if it does not incorporate the particularized

   description through incorporation by reference or does not accompany the warrant

   during its execution because it is under seal. Id. at 557–58.

         Some circuits require both incorporating language in the warrant and

   attachment of the supporting documents during its execution. The Fourth Circuit

   requires either incorporation by reference or attachment. United States v. Hurwitz,

   459 F.3d 463, 470–71 (4th Cir. 2006). It is clear from the face of the warrant that

   Attachments A and B are incorporated by reference, and it also appears that they

   were attached to the warrant during its execution. In addition, the entire affidavit is

   explicitly incorporated by reference into the Search Warrant application, although

   both documents were under seal and not viewable by the defendants on the date of

   the search. The thrust of the defendants’ argument is that the Search Warrant is

   facially invalid because it does not incorporate by reference or attach the entirety of

   the agent’s affidavit nor the warrant application that lists the criminal statutes being




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   investigated. In other words, Attachment B’s “things to be seized” is not anchored

   to the criminal violations being investigated.

         The defendants are correct that neither the affidavit nor the application were

   attached to the warrant during the search.        The government claims that both

   documents were available to agents during the search to ensure that they could

   reference it and comply with its probable cause and particularity limitations. U.S.

   Resp. Opp’n Mot. Suppress, Petri Decl. 2, ECF No. 276-1. Yet the rationale behind

   accompaniment of the supporting documents is for the subject of the search to be

   able to inspect it rather than the agents executing the search. See Groh, 540 U.S. at

   557–58. Nonetheless, the explicit language of Groh does not require incorporation

   of the entire affidavit. The Groh Court simply required a warrant to “incorporate

   other documents by reference” or for the “affidavit or the application . . . [to]

   accompany the warrant.” Id. at 558. The Fourth Circuit also explicitly held in

   Hurwitz that a search warrant’s cross-reference to the attachment of the supporting

   affidavit is sufficient to satisfy the particularity requirement. Hurwitz, 459 F.3d at

   470–71 (noting that the contested attachment identified the items to seized).

         Above all, the Fourth Amendment’s particularity requirement is separate from

   the probable cause requirement, which is the real crux of the defendants’ argument

   that Attachment B’s “things to be seized” could not independently tethered to

   specific criminal violations within the four corners of the attachments or the warrant.


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   The defendants make this assertion even though the criminal violations were listed

   in the affidavit and application and thereby viewable by the magistrate judge, albeit

   not immediately viewable by the defendants during execution of the warrants. This

   is an extremely nuanced point without any authority to bolster it.

         There is no requirement in Groh that the subject of the search be able to

   inspect the suspected criminal violations and probable cause finding detailed to, and

   adopted by, the magistrate. The Supreme Court in Groh merely addressed the

   particularity requirement as to the “things to be seized” and the level of detail

   required. As a result, the defendants’ argument goes far beyond the issues decided

   in Groh and its reliance on the case is misplaced. 540 U.S. at 557– 59.

                          C. The Magistrate Judge’s probable cause
                          Determination had a substantial basis
                          that supported Attachment B’s “Things
                          to be Seized.”

         The defendants also argue that the Search Warrant is overly broad and without

   sufficient probable cause to permit the extent of the seizure. When a defendant

   challenges the magistrate judge’s finding of probable cause based on grossly

   insufficient evidence to warrant the level of intrusion, such an allegation is best

   analyzed under the third Leon exclusion. See United States v. Wellman, 663 F.3d

   224, 229 (4th Cir. 2011). As such, the question is whether the warrant application

   is so lacking in indicia of probable cause as to render official belief in its existence



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   entirely unreasonable. See id. In essence, whether there was a “substantial basis for

   the [magistrate’s] decision.” Hurwitz, 459 F.3d at 473.

         In my review of the affidavit in this case, I find that it bears many of the indicia

   of a strong search warrant application. Agent Petri’s affidavit describes an extensive

   conspiracy that touched numerous states and spanned across multiple levels of the

   defendants’ command structure. The affidavit sets forth a thorough explanation of

   buprenorphine and its prior legal status as an orphan drug, which gave the defendants

   exclusive control over buprenorphine for a period of seven years. This explanation

   sets forth the motive for the entire scheme. Over sixteen pages, the affidavit lays out

   the facts giving rise to probable cause. It is also apparent that the affidavit was not

   a hastily assembled document based on a single tip, but was the product of at least

   an eight-month investigation to corroborate the information provided by the source.

         The affidavit carefully links the probable cause to the defendants’

   headquarters and items to be seized. The affidavit explains that the Richmond

   headquarters is a centralized location for the storage media, including the

   defendants’ server, and the source had provided documents demonstrating use of e-

   mail and other electronic formats to carry out the scheme. See United States v.

   Anderson, 851 F.2d 727, 729 (4th Cir. 1988) (agreeing with other circuits “that the

   nexus between the place to be searched and the items to be seized may be established

   by the nature of the item and the normal inferences of where one would likely keep


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   such evidence”). It was eminently reasonable to suspect that a business entity

   suspected of committing fraud would store evidence at its headquarters.

         As for Attachment B and its categorization of the things to be seized, the

   affidavit provides a substantial basis to conclude that the defendants’ headquarters

   and their electronically stored information might include records communicating

   their knowledge and endorsement of the scheme. Attachment B also explicitly

   limited the search to corporate-issued electronics, so that employee’s personal cell

   phones or laptops would not be seized or searched. Attachment B seeks out a

   relatively narrow set of records, documents, and correspondence in physical or

   electronic form. Specifically, Attachment B lists the defendants’ records related to:

   Suboxone and/or Subutex; a cross-section of the defendants’ employees that would

   likely be associated with the advertising and sale of the substances, executive

   decisionmakers, or human resource officers who might have knowledge about the

   incentive system for salespeople; and the computers and storage media likely used

   to communicate about the violations. As such, Attachment B’s enumerated items

   hardly convert the Search Warrant into a general warrant without limits as claimed

   by the defendants.

         Akin to the argument rejected in Hurwitz, the defendants assert that there was

   insufficient probable cause for the government to seize all of the files because the

   supporting affidavit was primarily focused on the Appalachian region and Suboxone


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   and Subutex. As the Fourth Circuit noted in Hurwitz, there “is no requirement that

   the government have evidence relating to each and every [file] to support the seizure

   of all of the files.” Hurwitz, 459 F.3d at 473. The Fourth Circuit also held in United

   States v. Oloyede that:

         where there is probable cause to believe that a business is “permeated
         with fraud,” either explicitly stated in the supporting affidavit or
         implicit from the evidence therein set forth, a warrant may authorize
         the seizure of all documents relating to the suspected criminal area but
         may not authorize the seizure of any severable portion of such
         documents relating to legitimate activities.

   982 F.2d 133, 141 (4th Cir. 1992) (noting that there were no severable portions in

   the defendant’s immigration practice, so that non-relevant matters, if any, would be

   a de minimis portion of his activities).

         I am not convinced that the Search Warrant is overbroad as compared to the

   provided probable cause. The affidavit lays out a wide-ranging conspiracy that

   implicates large portions of the defendants’ corporate structure and across numerous

   states, while leaving open the possibility that other regions may be affected by the

   defendants’ misleading marketing practices. The magistrate judge, therefore, had a

   substantial basis in authorizing the search of the defendants’ headquarters and its

   physical and electronic files to determine the actual scope and contours of the

   conspiracy. Upon examining the totality of this information before the magistrate

   judge, the affidavit supporting the warrant was not so lacking in indicia of probable

   cause as to render official belief in its existence entirely unreasonable.

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         Relatedly, Attachment B’s list of property to be seized is sufficiently

   particular and reasonably linked to the probable cause portion of the affidavit. The

   Fourth Amendment “requires that a warrant be no broader than the probable cause

   on which it is based.” Hurwitz, 459 F.3d at 473. This requirement “ensures that the

   search is confined in scope to particularly described evidence relating to a specific

   crime for which there is probable cause.” Oloyede, 982 F.2d at 138. The Fourth

   Amendment’s requirement for particularity “ensures that the search will be carefully

   tailored to its justifications, and will not take on the character of the wide-ranging

   exploratory searches the Framers intended to prohibit.” Maryland v. Garrison, 480

   U.S. 79, 84 (1987).

         The particularity requirement is satisfied when an officer in possession of a

   search warrant describing a particular place to be searched can reasonably ascertain

   and identify the intended place to be searched and the items to be seized. Steele v.

   United States, 267 U.S. 498, 503 (1925). The particularity requirement limits and

   authorizes the search for and seizure of evidence relating to the alleged criminal

   conduct — in this case, conspiracy, health care fraud, misbranded drugs, and false

   claims — as found in the items specifically enumerated in Attachment B. See

   Andresen v. Maryland, 427 U.S. 463, 480 (1976).

         At its heart, “the test for the necessary particularity is a pragmatic one” with

   a “practical margin of flexibility,” so that the required degree of specificity will vary


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   depending on the circumstances. United States v. Torch, 609 F.2d 1088, 1090 (4th

   Cir. 1979). For example, “[u]nlike with murder weapons or drugs, when an offense

   concerns the use of hard copy or electronic files and documents a court cannot be

   sure which files will be relevant and the warrant may not be able to state as

   specifically what should be searched and seized.” United States v. Sassani, No. 97-

   4011, 1998 WL 89875, at *5 (4th Cir. Mar. 4, 1998) (unpublished) (holding that less

   particularity is required in such warrants so long as the warrant otherwise limits the

   officers’ discretion to the alleged criminal violations). The affidavit in this case

   alleges fraudulent activity over a large geographic area, by numerous actors within

   the defendants’ organizations, and the clear use of electronic means to further the

   scheme. Attachment B’s description of the things to be seized is appropriately

   limited to the defendants’ related products, internal compliance, the personnel that

   would have been involved or should have known about the activity, and other items

   related to the alleged scheme.     In so doing, the Search Warrant satisfies the

   particularity requirement as much as it could under the circumstances.

                          D. The government’s search did not
                          exceed the scope of the warrant.

         Finally, the defendants contend that the government exceeded the scope of an

   already broad warrant through how it executed the Search Warrant and how it has

   since retained the seized information. In determining whether a search or seizure

   exceeds the scope of a warrant, the inquiry “is one of practical, rather than
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   hypertechnical, accuracy.” United States v. Kimble, 855 F.3d 604, 611 (4th Cir.

   2017). The fundamental legal principals involved in interpreting the validity of a

   search warrant also apply to assessing its scope. United States v. Srivastava, 540

   F.3d 277, 290 n.16 (4th Cir. 2008); see also United States v. Williams, 592 F.3d 511,

   522 (4th Cir. 2010) ( “[T]he scope of a search conducted pursuant to a warrant is

   defined objectively by the terms of the warrant and the evidence sought, not by the

   subjective motivations of an officer.”).

         Although the defendants demand blanket suppression and denounce the

   search of their headquarters as an impermissible general search that exceeded the

   scope authorized by the warrant, the defendants only identify two categories of items

   as outside the warrant’s scope. The first being the collection of their employees’

   corporate-issued electronics, and the second being their employees’ personal data

   that was stored on the corporate-issued electronics. The government questions

   whether the defendants have standing to contest the seizure of their employee’s

   corporate-issued electronics. I disagree. I find the defendants have standing because

   the cellphones and laptops are corporate property clearly owned by the defendants,

   even if they are provided to their employees for work-related activities.

         However, the defendants cannot have it both ways and claim that the

   employees were personally searched when the corporate-issued electronics were

   seized. The magistrate judge found sufficient probable cause as to these items, and


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   Attachment B explicitly limits seizure to corporate electronics and excludes personal

   electronics. The agent’s command to the defendants’ employees to leave their

   corporate-issued electronics in their offices thus fell well within the scope of the

   warrant. See Owens ex rel. Owens v. Lott, 372 F.3d 267, 276 (4th Cir. 2004) (holding

   that “as long as there is good reason to suspect or believe that anyone present at the

   anticipated scene will probably be a participant in the criminal activity occurring

   there,” the executing agents may conduct a search of the individual limited by the

   parameters of the warrant).

         As for the defendants’ second basis, they essentially contend that the breadth

   of the search justifies blanket suppression of all items seized. I am not persuaded by

   the defendants’ repeated emphasis on the number of items seized nor the highly

   sensitive nature of some of the employee’s personal data collected from the

   corporate-issued electronics. The personal data was only collected because their

   employees chose to store private information on the defendants’ corporate property.

   I am also not persuaded by the defendants’ arguments about the quality and quantity

   of that private information. The government could not have anticipated that the

   defendants’ employees would store such private information with their employers,

   and the government already agreed to segregate out irrelevant information in the

   agreed order entered shortly after execution of the warrant.




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         The government concedes that its seizure of materials about a drug unrelated

   to Suboxone and Subutex may have been outside the scope of the warrant, but “[t]he

   exclusionary rule does not compel suppression of evidence properly covered by a

   warrant merely because other material not covered by the warrant was taken during

   the same search.” United States v. Borromeo, 954 F.2d 245, 247 (4th Cir.), cert.

   denied, 505 U.S. 1212 (1992). Most importantly, “[b]lanket suppression due to an

   overly broad general search is only justified when officers exhibit flagrant disregard

   for the terms of the warrant.” United States v. Chandia, 514 F.3d 365, 374 (4th Cir.

   2008). In other words, when searching officers engage in indiscriminate fishing for

   evidence and wholesale seizure. See United States v. Robinson, 275 F.3d 371, 382

   (4th Cir. 2001). For example, if the seizing agents in this case had taken things of

   value such as office supplies or petty cash that clearly could not have been related

   to the healthcare fraud scheme. See id.

         The defendants have not provided any probative indicia of flagrant disregard

   or bad faith, and the government has provided significant evidence of good-faith

   steps taken both during and after the search to work with the defendants and their

   counsel. See United States v. Uzenski, 434 F.3d 690, 707–08 (4th Cir. 2006)

   (holding that without probative indicia of flagrant disregard or bad faith, it was

   impossible to conclude that the officers’ seizure of certain items outside the warrant

   transformed the particularized search into a general, unrestricted fishing expedition).


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   The defendants have also not shown that a significant proportion of the evidence

   seized was outside the scope of the warrant or even capable of being segregated

   during execution of the warrant. See United States v. Squillacote, 221 F.3d 542, 556

   (4th Cir. 2000) (the “extraordinary remedy of blanket suppression” has applied only

   when officers have seized “large quantities of evidence clearly not within the scope

   of the warrant”). The employees’ seized personal data likewise appears de minimis

   as compared to the relevant materials seized. After comparing the scope of the

   warrant with the list of the items actually seized, there is no basis for concluding that

   the officers flagrantly disregarded the terms of the warrant in this case.

   Within their argument about scope, the defendants also complain that the

   government’s retention of evidence has been unreasonable because they have not

   received any confirmation that irrelevant materials have been segregated in the

   government’s internal discovery database. The defendants also assert, without citing

   any supportive authority, that each internal database search that includes the

   irrelevant evidence constitutes a new search in violation of the Fourth Amendment.

   I disagree. The government’s use of a filter team to remove privileged materials, as

   well as its efforts to flag and electronically filter out irrelevant materials — such as

   the employees’ private data — is adequate. The government has satisfied its

   obligations and appears to have conducted a timely and reasonable review of the

   seized documents. See United States v. Manafort, 323 F. Supp. 3d 795, 808–09


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   (E.D. Va. 2018) (rejecting a similar argument because the record demonstrated the

   government’s efforts to conduct a timely and reasonable review through the use of

   filter teams and relevance reviews).

                                          IV.

         For the foregoing reasons, it is ORDERED that the defendants’ Motion to

   Suppress, ECF No. 261, is DENIED.

                                                   ENTER: March 25, 2020

                                                   /s/ JAMES P. JONES
                                                   United States District Judge




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